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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: March 12, 2020

* * * * * * * *                     *    *    *   *    *
MARGARET ALBERS,                                       *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 16-1715V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Tetanus-diphtheria-acellular
AND HUMAN SERVICES,                                    *                 pertussis (“Tdap”); Seizure
                                                       *                 Disorder.
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Brian L. Cinelli, Marcus & Cinelli, LLP, Williamsville, NY, for petitioner.
Linda S. Renzi, United States Department of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

        On December 29, 2016, Margaret Albers (“petitioner”) filed a petition for compensation
within the National Vaccine Injury Compensation Program.2 Petition (ECF No. 1). Petitioner
alleged that as a result of receiving a tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine on
December 30, 2013, she developed a seizure disorder with residual effects that persisted for more
than six months. Id.

        On March 12, 2020, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation (ECF No. 63). Respondent denies that
the Tdap vaccine caused petitioner to suffer from a seizure disorder or any other injury or her
current condition. Id. at ¶ 6. Maintaining their respective positions, the parties nevertheless now

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The Court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion
is posted on the Court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the Court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will
be posted on the Court’s website without any changes. Id.

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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agree that the issues between them shall be settled and that a decision should be entered
awarding compensation according to the terms of the stipulation attached hereto as Appendix A.
Id. at ¶ 7.

        The stipulation awards:

        1) A lump sum of $207,230.11, which amount represents compensation for first-
           year life care expenses ($32,197.52), pain and suffering ($160,000.00), and past
           unreimbursable expenses ($15,032.59), in the form of a check payable to
           petitioner;

        2) A lump sum of $11,089.38, which amount represents reimbursement of a New
           York State Medicaid lien for services rendered on behalf of petitioner, in the
           form of a check payable jointly to petitioner and New York Department of
           Health, and mailed to:

                                        New York State Department of Health
                                                 P.O. Box 415874
                                             Boston, MA 02241-5874
                                             Recovery Case #: 197765
                                             ATTN: Charla Harrigan

             Petitioner agrees to endorse this payment to New York State Department of
             Health; and

        3) An amount sufficient to purchase the annuity contract described in paragraph
           10 of the stipulation, paid to the life insurance company from which the annuity
           will be purchased (the “Life Insurance Company”).

       These amounts represent compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a). I adopt the stipulation as the decision of the Court and hereby award
compensation in the amount and on the terms set forth therein. Accordingly, the Clerk of Court
SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).



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